Case 1:19-cv-03304-ABJ Document 19 Filed 05/04/20 Page 1 of 7

US DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

Henok A. Mengesha
v 1:19-cv-03304

Benidia Rice et al Judge: Jackson, Amy Berman

Proof of service on defendant Nicole M. Reece

Due to the unusual current circumstance, DC gov OAG is accepting process service
electronically, see exhibit 1. The above defendant was served through OAG under her official
capacity, see exhibit 2. Summons and amended complaint for each defendant was served
electronically on OAG.

Respectfully

Henok A Mengesha

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Case 1:19-cv-03304-ABJ Document 19 Filed 05/04/20 Page 2 of 7

Exhibit 1
Case 1:19-cv-03304-ABJ Document 19 Filed 05/04/20 Page 3 of 7
5/1/2020 Yahoo Mail - RE: service of process

RE: service of process

From: Copeland, Chad (OAG) (chad.copeland@dc.gov)
To: — arayahen@yahoo.com

Cc: — stephanie.litos@dc.gov

Date: Tuesday, April 28, 2020, 10:44 AM EDT

Yes, on a temporary basis throughout the public health emergency. The procedure for electronic service is laid out in
the attached office order.

Chad Copeland

Deputy Attorney General

Civil Litigation Division

Office of the Attorney General for the District of Columbia
441 4th Street, NW

Washington, D.C. 20001

(202) 724-6623

chad.copeland@dc.gov

From: h araya <arayahen@yahoo.com>

Sent: Tuesday, April 28, 2020 10:28 AM

To: Copeland, Chad (OAG) <chad.copeland@dc.gov>
Subject: service of process

 

CAUTION: This email originated from outside of the DC Government. Do not click on links or open attachments
unless you recognize the sender and know that the content is safe. If you believe that this email is suspicious,
please forward to phishing@dc.gov for additional analysis by OCTO Security Operations Center (SOC).

 

 

 

 

Mr. Copeland,

Due to the pandemic, | was told that OAG is now accepting service of process electronically for
the district and its employees? is that true?

Henok

2020-10 OFFICE ORDER (Temp Service Process).pdf
4| 96.6kB

1/2
5/1/2020

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Yahoo Mail - RE: service of process

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Case 1:19-cv-03304-ABJ Document 19 Filed 05/04/20 Page 5 of 7

Exhibit 2
Case 1:19-cv-03304-ABJ
5/1(2020

Re: service of process

From: h araya (arayahen@yahoo.com)
To: — chad.copeland@dc.gov
Cc: — stephanie.litos@dc.gov
Bec: tonia.robinson@dc.gov

Date: Tuesday, April 28, 2020, 10:52 AM EDT

Thank you.

Please, see attached service of process documents for the district and employees of the district.

Document 19 Filed 05/04/20 Page 6 of 7

Yahoo Mail - Re: service of process

The case is already handled by Matthew Trout.

Henok

On Tuesday, April 28, 2020, 10:44:03 AM EDT, Copeland, Chad (OAG) <chad.copeland@dc.gov> wrote:

Yes, on a temporary basis throughout the public health emergency. The procedure for electronic service is laid out in

the attached office order,

Chad Copeland
Deputy Attorney General

Civil Litigation Division

Office of the Attorney General for the District of Columbia

441 4th Street, NW
Washington, D.C. 20001
(202) 724-6623

chad.copeland@dc.gov

 

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Case 1:19-cv-03304-ABJ Documen
51142020 Yahoo Mail ; one 4120 Page 7of7

Mr. Copeland,

Due to the pandemic, | was told that OAG is now accepting service of process electronically for
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Henok

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